Case 1:22-cv-10922-NRB Document 53-4 Filed 04/07/23 Page 1 of 2




          EXHIBIT 4
           Case 1:22-cv-10922-NRB Document 53-4 Filed 04/07/23 Page 2 of 2


From:               Gemini
To:
Subject:            Your Annual User Agreement and Privacy Policy Notice
Date:               Thursday, December 15, 2022 6:26:35 PM




                                                           Logo




       Hello,

       We are sending this annual notice to encourage you to carefully
       read our current User Agreement and Privacy Policy so that you
       understand the terms and conditions of our service. Our User
       Agreement has changed, including the Dispute Resolution
       provision.

       If you have any questions or concerns, please visit our Help Center
       or send us a message at support@gemini.com.



              Sign in




       Onward and Upward,
       Team Gemini




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